Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 1 of 7

EXHIBIT “B”
Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 2 of 7

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Beijing New Bui tding Waterials Public Limited Company

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Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 3 of 7

Subsidiary Companies of Beijing New Building Material Public Limited Company

($1 = about ¥ 6.8)

(BNBM or BNBM PLC)

Source: Translated from the 2028 Intrim Report of BNEM (P102-103)

Name of the Subsidiary | Subsidiary | Corporate Place of Legal Corporate Business Registered | Share | Voting
No. Type Type Incorporation| Representative Code Capital Ratio | Ratic
BNBM Building Plastic |Controlled {Limited Beijing Zhou Yunxiang }63371505-7 {Production and sale (100 million! 55% 55%
Co., Lid, ot of plastic and steel
1 |i a)) — loubsidiary [Liability materials
[BNBM Home Co.,Ltd. [Controtled [Sino-foreign [Beijing Wang Bing  |72636296-7 [Industrialized ¥ 200 million] 64% | 64%
2 dG BARA) {subsidiary _fjoint venture < Housing Building 4
BNBM Beixin Chenlong | wholly- Limited. Beijing Zhou Yunxiang |10195550-0 | Architectural ¥7million | 100% | 100%
Decoration Engineering
Co., Ltd. owned
Ctra eRRa Le
3 |aBAa) subsidiary _ [Liability decoration .
Beijing New Material Controlled [Limited Bejing Wang Bing 72634017-8 |Fostermg ofhigh- 5 million 60% 60%
Incubator Co., Ltd. . :
GER STARS A IE |
4 lA) subsidiary _|Liabitity tech enterprises
Taishan Gypsum Co., Lid. [Controlled [Limited Tai'an, Jia Tongebun |72074387-3 [Production andsale [¥ 155.625 42% | 65%
5 [GRA ARA AMAA subsidiary [Liability Shandong of plasterboard raillion
BNBM Suzhou Mineral [whally- Limited Suzhou, Wu Fade 73829657-3 {Production and sale [#20 million | 100% | 100%
Fiber Ceiling Co., Lid. owned of mineral fiber
RMIT HRA RA
6 By) subsidiary | Liability Jiangsu . ceilings
BNEM Taicang Co., Ltd. {wholly- Limited Taicang, Zhang Nailing /79650800-1 |Production and sale {% 60 million | 100% | 100%
owned
7 | KAR ARASD subsidiary [Liebility _ |Hangsu of plasterboard

Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 4 of 7

79003622-6

BNBM Chengdu Co., Ltd. |wholly- Limited Chengdu, Zhang Nailing Production and sale |¥ 1 million 100% | 100%
owned * *
8 | RBI AMAA) |subsidiary (Liability [Sichuan of steel stud ~
ENBM Ningbo Co., Lid, |wholly- Limited ‘Ningbo, Zhang Nailing |78042527-9 {Production and sale |¥145 million } 100% | 100%
owned . .
9 |cruestareeeRAa) loubsigiary [Liability _| Zhejiang of plasterboard
Beijing Donglian whally- Limited Beijing Yang Yanjun |76002435-5 [Investing business |¥35.79375 | 100% | 100%
Tevestment and Trade Co.,
' owned
Lid.
16 |e RABEA AA) subsidiary [Liability million
BNBM Zhaoging Co., Ltd.) wholly- Limited: Zhaoaing, Zhang Nailing [66500566-6 |Production and sale }£20 million | 100% | 100%
owned s “
ik (RAM SMA A) subsidiary [Liability Guangdong of plasterboard
BNBM Guang’an Co., wholly- Limited Guang'an, Zhang Nailing |66536676-0 |Production and sale ¥ 15 million |} 100% | 100%
Lid. owned
12 |y- sitar RAS) subsidiary [Liability [Sichuan of plasterboatd
BNBM Hubei Co., Lid. |wholly- Limited . Wohan, Hubei |Zhang Nailing |66952032-3 |Production and sale }¥15 million | 100% 100%
owned
AS | Quake RA RAT) loubsidiary [Liability of plasterboard
BNBM Suzhou Co., Ltd. |whoilly- Limited Suzhou, Zhang Nailing |79830369-1 |Production and sale [% 80 million | 100% | 100%
owned
14 |GQKAALSTRA AERA A) loubsidiary [Liability _[Jiangsu of wall materials
Beijing New Residential -wholly- Lhnited Miynn, Zhou 69964053-7 |Production and sale |% 50 million | 160% | 100%
Indusiry Co., Ltd. owned of building
15 |earese AA) lsubsidiary |Liabitity [Beijing Yunxiang materials
BNEM Zhenjiang Co. | wholly- Limited Zhenjiang, [Zhang Nailing |69794890-9 |Production and sale |¥ 15 million | 100% | 100%
Ltd. owned
16 |sericae eA aD |subsidiary [iabitity (Jiangsu of plasterboard

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Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 5 of 7

0 —_—- .. i te ee ae.
BNEM Pingyi Co., Lid. |wholly- Limited Fingyi, Zhang Nailing 69443159-2 |Production and sale |¥ 20 million | 100% | 100%
= owned e. #
17 |CE BIA RAR) subsidiary (Liability [Shandong of plasterboard
BNEM Gucheng Co., Controlled |Limited Gucheng, Zhang Nailing |69349713-5 |Production and sale |¥ 15 million | 85% 85%
Ltd., .
18 |omEeRe RA ADleubsidiary [Liability [Hebel of plasterboard

Note: The last four companies (highlighted) are newly included in the consolidated finanical statements of BNBM from the year 2009

Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 6 of 7

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ILA RARAAl RO SAR PHSB Ib oj SE de| 72636296-7
ICZM ERE LEA RA SETAE | AREME Iti 4izsFH | 10195550-0
TETRTAT RRL RSA RR RETA) AMR she | EO | 72634017-8
BUG ERA RAA] PAE AS]| AMR | GiRaeser | | 72074987-3
MACS HULA IRA B) AMEAR | BULE | IRRATT | Bete) 73829657-3
KARA AIRS Fl Aerie) BiBe | waka | H7yeR) 79650800-1
RAIL BIR Al ABFARM| BiH | AeA | HK7VWe) 79003622-6
TOIL RATA RA A] SREAA| BR | WAC UTE | 9K 7UIe | 78042527-8
JER RRA BRS Fy PETAR) ARG dha = | Baw | 76002435-5
SRAM BMA RA]. See sal| SRE | PORRSEDETIT | PkThee | 6Ob00566-6
) AGRA RA wl SBA | AMBRE Pay seit | He Toke | 66536676-6
WALES A A Al ee Aa) MHA: | MAbReL TT | H7aIR | 86902032-3
PMSA H RA) SPAS] APBME | LOORIITH | HTH) 79B30369-1
ESM ARS Fl amehel| SRE le aA] ABA] 69964053-7
AAA AR AA See Aa| BREE | YLDRORL | 3k 79H} 69724890-9 |
F BIE ARS a) SRPAA| ARBRE | WREFRS 3K Thay | 69443159-2
HUSIEREArA PRA Al jaa | ARBRE [JALAL] TK TGR | 899497135
FARR bE Bt sear aR | RENEE A | ERA
LABRET BAN yEr eS 10,0007} 55. 00% 55. 00%
IRE ARA A Th Be 20, 00077] 64. 00% 64, 00%
SE RCAL SA Re PRS | a He 70073] 10.00% | 100. 00%
IRMA LER RA A Bata 5007] 60. 00% 60. 00%
Bila REARS F) ARR Hees 15,562. 50771 42, 00% 65. 00%
HALT HRA RS YRRHEF ae 2,0007| 100.00% -| 100. 00%
AeA A A eRe 6, 00077 100.00% | 100. 00%
ALR BAAR LEP MEP 1007 «100. GO% | 100. 00%
TRIMBHA IRA = FY a 1, 5007] 100.00% | 100. 00%
ALORA RA a) per 3, 579.3755, 100.00% | 100, 00%
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Hibs eA! a ARR A BE 1,500] 100.00% | 100. 00%
RHI ABA BAREIS - » 8,00073]- 100.00% |. 100.00% |
SEEM RRA CAME Pee 5.00071 100.00% | 100. 00%

Case 2:09-md-02047-EEF-MBN Document 8685-3 Filed 05/03/11 Page 7 of 7

100, 00%

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e - TRASK FARA | PvseR | PEARL HAAR | RUA.
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BilAg (BK) ARAA SBF | AMA | BRUT | TEIRe | 77840473-4
BLA GO) FRSA Sera] | ARE | AdbeikT | RAS 78256341-3 ||
EWR UME RRABAA| SHEAR | AMEE | WAT | BFE | 78503046-0
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Bull aF CFU A RA al REAR) GE | HEFL | BAe | 789819649
RUA) RA A SEPA | BBE | HITE | TR | 66466723-8
law HR) BRS al ORF AR)| AME | MORPETH | Bile | 79688710-1
RAR AE) ARAA EFA) AME | RAT] GER | 67264412-4
Raw (AS) AMA) PRA) AE | ARTS) RA | 67067771-5
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